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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

                                    8:11-cv-01085-SDM-EAJ



ROBERT COHEN, Individually;
And ACCESS FOR THE DISABLED, INC., a
Florida Not-For-Profit Corporation,

       Plaintiffs,

vs.

SARASOTA BUFFALO WINGS, LLC d/b/a
WINGS-N-WEENIES, DEBORAH R.
ROBERTSON d/b/a KDL ASSOCIATES,
KATHERINE WILDEY d/b/a KDL
ASSOCIATES, and LAURENCE B. OETH,
III d/b/a KDL ASSOCIATES

      Defendants.
_____________________________________/


                                 NOTICE OF SETTLEMENT

       Plaintiffs provide this Notice of Settlement, and states that the parties have reached an

agreement with Defendants as to the resolution of all claims against them. Plaintiff is currently

awaiting receipt of settlement documents from defense counsel and the undersigned anticipates

submitting a joint stipulation of dismissal to the Court for approval within 10 days.

       1.      On September 29, 2011, the parties submitted A Stipulation for approval and

entry of consent decree, and dismissal of case with prejudice.

       2.      Settlement in this action is dependant on dismissal and adoption of the parties’

proposed consent decree.
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       WHEREFORE, Plaintiffs provides this Notice of the Settlement and respectfully request

this Court to approve and enter judgment on the Consent Decree and retain jurisdiction to

enforce the Consent Decree and Dismiss the Case with Prejudice.

                                  CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

Court via CM/ECF on this 25th day of October 2011. We further certify that the foregoing was

served on all counsel or parties of record on the attached Service List either via transmission of

Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those

counsel or parties who are not authorized to receive electronic Notices of Filing.

                                                  Respectfully submitted,


                                                  By:     /s/ Daniel B. Reinfeld
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                           8:11-cv-01085-SDM-EAJ
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